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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 14-62469-Civ-COOKE/TORRES

   VITAL PHARMACEUTICALS, INC.,
   d/b/a VPX SPORTS, et al.,

          Plaintiffs,

   vs.

   BALBOA CAPITAL CORPORATION,

         Defendant.
   ___________________________________________/
                        ORDER ADOPTING MAGISTRATE JUDGE’S
                          REPORTS AND RECOMMENDATION
          THIS MATTER is before the Court on U.S. Magistrate Judge Edwin G. Torres’
   Report and Recommendation (ECF No. 195) on Defendant’s Motions for Fees and Non-
   Taxable Costs (ECF Nos. 177, 181). The Court referred Defendant’s Motions to Magistrate
   Judge Torres pursuant to 28 U.S.C. § 636(b)(1)(A). ECF Nos. 178, 182.
          Judge Torres recommends the Court grant in part and deny in part Defendant’s
   Motions. Neither party has filed objections to the Report, and the time to do so has passed.
   After reviewing the record and relevant legal authorities, the Court finds Judge Torres’
   Report and Recommendation clear, cogent, and compelling.
          Accordingly, this Court AFFIRMS and ADOPTS Judge Torres’ Report and
   Recommendation (ECF No. 195) as an Order of this Court. The Court GRANTS in part
   and DENIES in part Defendant’s Renewed, Verified for Attorneys’ Fees and Non-Taxable
   Expenses and Costs (ECF No. 177) and Appellee’s Application for Attorneys’ Fees in
   Connection with Appeal (ECF No. 181). The Court AWARDS Defendant $288,694.12 in
   fees and $2,009.60 in nontaxable costs, totaling $290,703.72.
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           DONE and ORDERED in Chambers, at Miami, Florida, this 20th day of October
   2020.




   Copies furnished to:
   Edwin G. Torres, U.S. Magistrate Judge
   Counsel of Record
